Case 2:23-bk-50214            Doc 34 Filed 08/13/23 Entered 08/14/23 00:11:35                            Desc
                            Imaged Certificate of Notice Page 1 of 3


This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: August 11, 2023



________________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

In re:                                         :      Case No.: 23-50214
                                               :
Thomas J. Conner,                              :
                                               :      Chapter 7
                                               :
                       Debtor(s).              :      Judge Nami Khorrami

  ORDER GRANTING '(%725¶6027,2172'(/$<&$6(&/26,1* '2&30)

         7KLVPDWWHUFRPHVEHIRUHWKH&RXUWRQWKH'HEWRU¶V0RWLRQWR'HOD\&DVH&ORVLQJILOHGRQ

July 11, 2023 (Doc. 30  WKH³0RWLRQ´ 7KURXJKWKH0RWLRQWKH'HEWRUUHTXHVWHGWKLV&RXUWGHOD\

the closing of his case to provide enough time to allow the Debtor to determine if litigation is

necessary to protect his right to file an action to determine the dischargability of his student loans

held by the Department of Education regarding the new guidance on federal student loans and the

discharge thereof in bankruptcy issued by the U.S. Department of Justice and U.S. Department of

Education on November 17, 2022.

         The Motion was properly noticed and served, and no responses or requests for hearing were

filed, or any responses were subsequently withdrawn.
Case 2:23-bk-50214            Doc 34 Filed 08/13/23 Entered 08/14/23 00:11:35                 Desc
                            Imaged Certificate of Notice Page 2 of 3
2

       Accordingly, the Motion is GRANTED.

       It is therefore ORDERED and DECREED that this case shall not be closed until 30 days

from the entry of this order.

IT IS SO ORDERED.


Submitted by:

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Tyler D. Cope (0097411)
The Legal Aid Society of Columbus
Attorney for the Debtor(s)
1108 City Park Ave.
Columbus, OH 43206
Phone: 614-737-0176
Fax: 614-224-4514
Email: tcope@columbuslegalaid.org
$WWRUQH\IRUWKH'HEWRU

Copies to Default List
             Case 2:23-bk-50214                   Doc 34 Filed 08/13/23 Entered 08/14/23 00:11:35                                               Desc
                                                Imaged Certificate of Notice Page 3 of 3
                                                              United States Bankruptcy Court
                                                                Southern District of Ohio
In re:                                                                                                                 Case No. 23-50214-mnk
Thomas J Conner                                                                                                        Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0648-2                                                  User: ad                                                                    Page 1 of 1
Date Rcvd: Aug 11, 2023                                               Form ID: pdf01                                                             Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 13, 2023:
Recip ID                  Recipient Name and Address
db                      + Thomas J Conner, 1066 East Weber Road, Columbus, OH 43211-1259

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 13, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 11, 2023 at the address(es) listed
below:
Name                               Email Address
Asst US Trustee (Col)
                                   ustpregion09.cb.ecf@usdoj.gov

James Mackey
                                   on behalf of Debtor Thomas J Conner jmackey@columbuslegalaid.org mackeyjr42515@notify.bestcase.com

Melissa S. Giberson
                                   trusteegiberson@vorys.com msg@trustesolutions.net;mdwalkuski@vorys.com

Tyler D. Cope
                                   on behalf of Debtor Thomas J Conner tcope@columbuslegalaid.org Cope.TylerR42515@notify.bestcase.com


TOTAL: 4
